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‘ WACO POLICE DEPARTMENT SUPPLEMENT
WACO, TEXAS Report
Reported Date: 11/15/01 Time: 07:35 Case: 01-075644 (007) PAGE: 1 of 1
Code: 29.03 1F PC Crime: AGG ROBBERY Class: 030110 CAD#: E Hate:
Occurrence Date: 11/15/01- Day: Thursday - Time: 07:30-07:35
Closing Officer: 000201 JANUARY S

Status: CA CLEAR ADU AR
Location: 3000 HERRING, WA

PARKING LOT
eoeewee===ee2ee5e=e====== NARRATIVE ; ee eee e eee Se SSeS SSeS SS SS SS SSS SSS SS SS SSS SSS
On this case I was asked to do a comparison with subject, SHERMAN FIELDS,
DOB 7/14/74, and CHRISTIAN CHAE WALKER, DOB 10/11/73. On the comparison 3
there is no match. Latent prints remain on file in the AFIS Lab until

RD: 335 Seat:

needed.
WAC oO Police Department First Page
Reporting officer: GUERCIO Number: 000361 Date: 12/11/03 Time:
Typed by: HUBBARD Number: 321 Date: 12/16/03 Time: 11:05
000321 Date: 12/16/03 Time: 11:07°

Approving Officer: HUBBARD, BETTY Number:
